Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW HAMPSHIRE

Case number (if
            (if known)                                                      Chapter      11
                                                                                                                         7    Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

                         attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
If more space is needed, aftach
known). For more information, a separate document, Instructions forfor Bank►uptcy
                                                                       Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The Prospect-Woodward Home

2.   All other names debtor
     used in the last 8 years
                                  DBA Hillside Village Keene
     Include any assumed          FKA Prospect Hill Home
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  95 Wyman Road
                                  Keene, NH 03431
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Cheshire                                                       Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.hillsidevillagekeene.org/


6.   Type of debtor               R   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                  r   Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
Debtor    The Prospect-Woodward Home                                                                   Case number (if
                                                                                                                   (if known)
                                                                                                                       known)
          Name


7.   Describe debtor's business A. Check one:
                                       kl   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       ❑    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       ❑    Railroad (as defined in 11 U.S.C. § 101(44))
                                       ❑    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       ❑    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       ❑    Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       ri   None of the above

                                       B. Check all
                                                all that apply
                                       kl Tax-exempt entity (as described in 26 U.S.C. §501)
                                       ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       n    Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                             6233

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                 Chapter 7
                                       n
     debtor filing?
                                       ❑    Chapter 9
                                       •                      all that apply:
                                            Chapter 11. Check all
     A debtor who is a "small
                         “small
                debtor” must check
     business debtor"                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                      operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                   exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is a                          7   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     “small business debtor")
     "small           debtor”) must                               debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     check the second sub-box.                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                                                     for Non-Individuals Filing for Bankruptcy under
                                                                  Attachment to Voluntary Petition for                                         under Chapter 11
                                                                                                                                                             11
                                                                  (Official Form 201A) with this form.
                                                              r   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                            Chapter 12

9.   Were prior bankruptcy             k    No.
     cases filed by or against
     the debtor within the last 8      ❑ Yes.
     years?
     If more than 2 cases, attach a
     separate list.                                District                                When                                 Case number
                                                   District                                When                                 Case number


10. Are any bankruptcy cases           •    No
    pending or being filed by a
    business partner or an             ❑ Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor                                                                  Relationship
                                                   District                                When                            Case number, if known




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
Debtor   The Prospect-Woodward Home                                                              Case number (if
                                                                                                             (if known)
                                                                                                                 known)
         Name




11. Why is the case filed in    Check all
                                      all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                ❑     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal   ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
               attention?
    immediate aftention?                   Why does the property need immediate aftention?
                                                                                attention? (Check all
                                                                                                  all that apply.)
                                           ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                           ❑ It needs to be physically secured or protected from the weather.
                                           ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                           ❑ Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                           ❑ No
                                           ❑ Yes. Insurance agency
                                                      Contact name
                                                      Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                         IV Funds will be available for distribution to unsecured creditors.
                                         7 After any administrative expenses are paid, no funds will be available to unsecured creditors.
14. Estimated number of         ❑ 1-49                                          ❑ 1,000-5,000                             ❑ 25,001-50,000
    creditors                   ❑ 50-99                                         ❑ 5001-10,000                             ❑ 50,001-100,000
                                  100-199                                       ❑ 10,001-25,000                           ❑ More than100,000
                                ❑ 200-999

15. Estimated Assets            ❑ $0 - $50,000                                  ❑ $1,000,001
                                                                                   $1,000,001 -- $10 million              ❑ $500,000,001 - $1 billion
                                ❑ $50,001 - $100,000                            kl $10,000,001 - $50 million              ❑ $1,000,000,001 - $10 billion
                                ❑ $100,001 - $500,000                           ❑ $50,000,001 - $100 million              ❑ $10,000,000,001 - $50 billion
                                ❑ $500,001 - $1 million                         ❑ $100,000,001
                                                                                   $100,000,001 -- $500 million           ❑ More than $50 billion
16. Estimated liabilities       ❑ $0 - $50,000                                  ❑ $1,000,001
                                                                                  $1,000,001 -- $10 million               ❑ $500,000,001 - $1 billion
                                ❑ $50,001 - $100,000                            ❑ $10,000,001 - $50 million               ❑ $1,000,000,001 - $10 billion
                                ❑ $100,001 - $500,000                             $50,000,001 - $100 million              ❑ $10,000,000,001 - $50 billion
                                ❑ $500,001 - $1 million                         ❑ $100,000,001 - $500 million             ❑ More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
Debtor   The Prospoct-Woodward Home                                                                Case number (if known)
         Name


          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571,

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to tile this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        (or 3.
                                                    MM DD / YYYY


                             x                                                                           Toby Shea
                                 Signet          thorized representative of debtor                       Printed name

                                 Title    Chief RestructuriniOfficer




18. Signature of attorney    x                                                                             Date August 33, 2021
                                 Sig ature of att    ey for                                                       M M / DD / YYYY
                                 debtor Owen R Graham
                                 Printed name

                                 Hincklext Allen & Snyder LLP
                                 Fri m name

                                 650 Elm Street
                                 Manchester,New HamEshire 03101
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      603-225-4334                 Email address      ororahamhinckleyallen.com

                                 266701 -NH

                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                             CERTIFICATE OF CORPORATE RESOLUTIONS


I, Rand S. Burnett, hereby certify that:

       1.     I am the duly elected Secretary of The Prospect-Woodward Home, a New Hampshire
voluntary corporation.

       2.      The following is a true copy of resolutions passed by a vote taken at a meeting of the Board
                                                                                                   voting1:
of Trustees, duly held on February 24, 2021, at which a quorum of the Trustees were present and votingl:


                           RESOLUTIONS OF THE BOARD OF TRUSTEES OF
                                THE PROSPECT-WOODWARD HOME
                                        February 24, 2021

         A.      Chapter 11 Filing

        WHEREAS, the Board has considered presentations by management and the financial and legal
advisors of The Prospect-Woodward Home (the "Corporation")
                                                      “Corporation”) regarding the liabilities and liquidity
situation of the Corporation, the strategic alternatives available to it and the effect of the foregoing on the
Corporation’s business; and
Corporation's

       WHEREAS, the Board has had the opportunity to consult with the management and the financial
and legal advisors of the Corporation and fully consider each of the strategic alternatives available to the
Corporation.

         NOW, THEREFORE, IT IS

        RESOLVED, that in the judgment of the Board it is desirable and in the best interests of the
Corporation to appoint Toby Shea to serve as chief restructuring officer (the "Chief
                                                                              “Chief Restructuring Officer")
                                                                                                   Officer”)
of the Corporation; and it is further

         RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of the
Corporation, its creditors, and other parties in interest, that the Corporation shall be and hereby is authorized
to file or cause to be filed a voluntary petition for relief for the Corporation (the "Chapter
                                                                                       “Chapter 11 Case")
                                                                                                   Case”) under
the provisions of chapter 11 of title 11 of the United States Code (the "Bankruptcy
                                                                              “Bankruptcy Code")
                                                                                            Code”) in a court of
                          “Bankruptcy Court");
proper jurisdiction (the "Bankruptcy   Court”); and it is further

        RESOLVED, that the Chief Restructuring Officer (also referred to herein as the "Authorized
                                                                                              “Authorized
Officer”) is authorized, empowered and directed to execute and file on behalf of the Corporation all
Officer")
petitions, schedules, lists and other motions, papers, or documents, and to take any and all action that he
deems necessary or proper to obtain such relief, including, without limitation, any action necessary to
                                               Corporation’s business; and it is further
maintain the ordinary course operation of the Corporation's


11 Kimball Temple and Jeanie Sy, both Trustees are residents of Hillside Village, abstained from these Resolutions. Rob Harris
was not in attendance at the meeting.

                                                               1
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       RESOLVED, that the Authorized Officer is authorized, empowered and directed to certify the
authenticity of these resolutions.

         B.    Retention of Professionals

        IT IS FURTHER RESOLVED, that the Authorized Officer is authorized and directed to employ
the law firm of POLSINELLI PC as general bankruptcy counsel to represent and assist the Corporation in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance the
Corporation’s rights and obligations, including filing any pleadings; and in connection therewith, the
Corporation's
Authorized Officer, with power of delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of POLSINELLI PC; and

       RESOLVED, that the Authorized Officer is authorized and directed to employ the law firm of
HINCKLEY, ALLEN & SNYDER LLP as corporate and regulatory counsel to represent and assist the
Corporation in carrying out its duties under New Hampshire and federal law, and to take any and all actions
                 Corporation’s rights and obligations, including filing any pleadings; and in connection
to advance the Corporation's
therewith, the Authorized Officer, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of HINCKLEY, ALLEN & SNYDER LLP; and

         RESOLVED, that the Authorized Officer is authorized and directed to employ the firm of
ONEPOINT PARTNERS to represent and assist the Authorized Officer and the Corporation in carrying out
their duties under the Bankruptcy Code, and to take any and all actions to advance the Corporation's
                                                                                       Corporation’s rights
and obligations; and in connection therewith, the Authorized Officer is, with power of delegation, hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
to be filed an appropriate application for authority to retain the services of ONEPOINT PARTNERS; and it
is further

        RESOLVED, that the Authorized Officer is authorized and directed to employ the firm of
SILVERBLOOM CONSULTING, LLC to represent and assist the Authorized Officer and the Corporation
in carrying out their duties under the Bankruptcy Code, and to take any and all actions to advance the
Corporation’s rights and obligations; and in connection therewith, the Authorized Officer is, with power of
Corporation's
delegation, hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed an appropriate application for authority to retain the services of
SILVERBLOOM CONSULTING; and it is further

       RESOLVED, that the Authorized Officer is authorized and directed to employ the firm of
GRANDBRIDGE REAL ESTATE CAPITAL LLC as investment banker to represent and assist the
Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance
    Company’s rights and obligations; and in connection therewith, each of the Authorized Officers, with
the Company's
power of delegation, are hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed appropriate applications for authority to retain the services of
GRANDBRIDGE REAL ESTATE CAPITAL LLC; and it is further

    RESOLVED, that the Authorized Officer is authorized and directed to employ the firm of
ACCOMMUNICATION PARTNERS as public relations consultant to represent and assist the Company in


                                                       2
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carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance the Company's
                                                                                                  Company’s
rights and obligations; and in connection therewith, each of the Authorized Officers, with power of
delegation, are hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed appropriate applications for authority to retain the services of
ACCOMMUNICATION PARTNERS; and it is further

        RESOLVED, that the Authorized Officer is authorized and directed to employ the firm of Donlin,
Recano & Company, Inc. as notice, claims, and balloting agent and as administrative advisor to represent
and assist the Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions
                 Company’s rights and obligations; and in connection therewith, each of the Authorized
to advance the Company's
Officers, with power of delegation, are hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed appropriate applications for authority to retain
the services of Donlin, Recano & Company, Inc.; and it is further

       RESOLVED, that the Authorized Officer is authorized and directed to employ any other
professionals to assist the Corporation in carrying out its duties under the Bankruptcy Code; and in
connection therewith, the Authorized Officer, with power of delegation, is hereby authorized and directed
to execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of any other professionals as necessary; and it is further

        RESOLVED, that the Authorized Officer is, with power of delegation, authorized, empowered and
directed to execute and file all petitions, schedules, motions, lists, applications, pleadings, and other papers
and, in connection therewith, to employ and retain all assistance by legal counsel, accountants, financial
advisors, and other professionals and to take and perform any and all further acts and deeds that the
Authorized Officer deems necessary, proper, or desirable in connection with the Chapter 11 Case, with a
view to the successful prosecution of such case.

         C.    General

        IT IS FURTHER RESOLVED, that in addition to the specific authorizations heretofore conferred
upon the Authorized Officer, the Authorized Officer (and his designees and delegates) is authorized and
empowered, in the name of and on behalf of the Corporation, to take or cause to be taken any and all such
other and further action, and to execute, acknowledge, deliver, and file any and all such agreements,
certificates, instruments, and other documents and to pay all expenses, including but not limited to filing
fees, in each case as in such officer's
                              officer’s judgment, shall be necessary, advisable or desirable in order to fully
carry out the intent and accomplish the purposes of the resolutions adopted herein; and it is further

        RESOLVED, that all acts, actions, and transactions relating to the matters contemplated by the
foregoing resolutions done in the name of and on behalf of the Corporation, which acts would have been
approved by the foregoing resolutions except that such acts were taken before the adoption of these
resolutions, are hereby in all respects approved and ratified as the true acts and deeds of the Corporation
with the same force and effect as if each such act, transaction, agreement or certificate has been specifically
authorized in advance by resolution of the Board; and it is further

        RESOLVED, that the Authorized Officer (and his designees and delegates) is authorized and
empowered to take all actions or to not take any action in the name of the Corporation with respect to the
transactions contemplated by these resolutions hereunder, as such Authorized Officer shall deem necessary


                                                       3
76558827.3
or desirable in such Authorized Officer's
                                 Officer’s reasonable business judgment as may be necessary or appropriate
to effectuate the purposes of the transactions contemplated herein.



 Dated: February 24, 2021
                                                  Name: Rand S. Burnett
                                                  Title: Secretary




                                                    4
76558827.3
                            CERTIFICATE OF CORPORATE RESOLUTIONS


I, Rand S. Burnett, hereby certify that:

       1.     I am the duly elected Secretary of The Prospect-Woodward Home, a New Hampshire
voluntary corporation.

        2.    The following is a true copy of resolutions passed by a vote taken at a special meeting of
the Board of Trustees, duly held on August 17, 2021, at which a quorum of the Trustees was present and
voting:

                  as a
        “WHEREAS, as
        "WHEREAS,    a result
                       result of
                              of the
                                 the discovery of significant
                                     discovery of significant construction
                                                              construction defects upon the
                                                                           defects upon     opening of
                                                                                        the opening of
    its new
    its new facility
            facility coupled
                     coupled with
                             with the governmental emergency
                                  the governmental emergency orders
                                                             orders resulting
                                                                    resulting from
                                                                              from the COVID-19 global
                                                                                   the COVID-19 global
    pandemic, The
    pandemic, The Prospect-Woodward
                  Prospect-Woodward Home
                                    Home (the “Corporation”) has
                                         (the "Corporation") has been unable to
                                                                 been unable    achieve its
                                                                             to achieve its
    marketing goals
    marketing goals and
                    and generate sufficient revenue
                        generate sufficient         from the
                                            revenue from     sale of
                                                         the sale of life care contracts
                                                                     life care contracts to
                                                                                         to fulfill
                                                                                            fulfill its
                                                                                                    its
    obligations under
    obligations under its
                      its long-term
                          long-term tax-exempt bond indebtedness
                                    tax-exempt bond indebtedness issued
                                                                 issued through
                                                                        through the
                                                                                the New Hampshire
                                                                                    New Hampshire
    Health and
    Health and Education
               Education Facilities
                         Facilities Authority
                                    Authority (the “Bonds”); and
                                              (the "Bonds"); and
        “WHEREAS, the
        "WHEREAS,     Corporation’s Board
                  the Corporation's       of Trustees
                                    Board of Trustees has
                                                      has engaged
                                                          engaged the services of
                                                                  the services of consultants
                                                                                  consultants and
                                                                                              and
    professionals familiar
    professionals familiar with
                           with challenges faced by
                                challenges faced by financially-distressed
                                                    financially-distressed nonprofit
                                                                           nonprofit senior
                                                                                     senior living
                                                                                            living
    communities, and
    communities, and upon
                     upon the advice and
                          the advice and guidance
                                         guidance of
                                                  of such
                                                     such experts
                                                          experts has
                                                                  has concluded
                                                                      concluded that Hillside Village
                                                                                that Hillside Village
    requires additional
    requires additional capital
                        capital to maintain its
                                to maintain its long-term
                                                long-term viability;
                                                          viability; and
                                                                     and
        “WHEREAS, the
        "WHEREAS,     Corporation’s Board
                  the Corporation's       of Trustees,
                                    Board of Trustees, following
                                                       following numerous
                                                                 numerous meetings
                                                                          meetings with
                                                                                   with Hillside
                                                                                        Hillside
    Village residents
    Village residents and
                      and their
                          their Resident Council and
                                Resident Council and legal
                                                     legal counsel,
                                                           counsel, regulatory authorities, Bondholder
                                                                    regulatory authorities, Bondholder
    representatives and
    representatives and the Board’s professional
                        the Board's professional advisors,
                                                 advisors, determined that it
                                                           determined that    was in
                                                                           it was in the best interests
                                                                                     the best interests of
                                                                                                        of
    Hillside Village's
    Hillside Village’s constituents
                       constituents and
                                    and its
                                        its charitable
                                            charitable mission
                                                       mission to solicit a
                                                               to solicit a purchaser of the
                                                                            purchaser of the Hillside Village
                                                                                             Hillside Village
    facility; and
    facility; and
        “WHEREAS, the
        "WHEREAS,     Corporation engaged
                  the Corporation engaged Grandbridge
                                          Grandbridge Real Estate Capital
                                                      Real Estate Capital to
                                                                          to conduct
                                                                             conduct aa sealed
                                                                                        sealed
    bidding process
    bidding process which
                    which resulted
                          resulted in
                                   in the
                                      the Corporation
                                          Corporation entering into aa nonbinding
                                                      entering into    nonbinding letter
                                                                                  letter of
                                                                                         of intent with the
                                                                                            intent with the
    highest and
    highest and best
                best bidder,
                     bidder, Covenant
                             Covenant Living Services (“Covenant”);
                                      Living Services               and
                                                      ("Covenant"); and
        “WHEREAS, through
        "WHEREAS, through legal counsel, the
                          legal counsel,     Corporation has
                                         the Corporation has negotiated
                                                             negotiated with
                                                                        with Covenant
                                                                             Covenant an
                                                                                      an Asset
                                                                                         Asset
    Purchase Agreement
    Purchase Agreement (the “Asset Purchase
                       (the "Asset          Agreement”) which
                                   Purchase Agreement") which contemplates
                                                              contemplates that
                                                                           that the
                                                                                the Corporation
                                                                                    Corporation
    will file
    will file for
              for protection
                  protection under
                             under Chapter
                                   Chapter 11
                                           11 of
                                              of the federal bankruptcy
                                                 the federal bankruptcy code,
                                                                        code, and
                                                                              and that Covenant will
                                                                                  that Covenant will be
                                                                                                     be
    the stalking
    the stalking horse
                 horse bidder
                       bidder in
                              in aa Section
                                    Section 363
                                            363 sale
                                                sale process
                                                     process in
                                                             in bankruptcy
                                                                bankruptcy court; and
                                                                           court; and
        “WHEREAS, with
        "WHEREAS, with the
                       the guidance
                           guidance of
                                    of its
                                       its professional
                                           professional advisors,
                                                        advisors, the Corporation has
                                                                  the Corporation has determined
                                                                                      determined that
                                                                                                 that
    the execution
    the execution of
                  of the Asset Purchase
                     the Asset          Agreement with
                               Purchase Agreement with Covenant
                                                       Covenant will
                                                                will be
                                                                     be in
                                                                        in the best interests
                                                                           the best interests of
                                                                                              of Hillside
                                                                                                 Hillside

                                                       1
Error! Unknown document property name.
                                                                    advisors,
                                                           ssion al advis
                                                     professional               the Corp
                                                                          ors, the  Corporation    has deter
                                                                                          oratio n has        mine d that
                                                                                                       determined     that
                REAS, with
        "WHEREAS,
        "WHE                   the guida
                         with the        nce of
                                   guidance      its profe
                                             of its
                                                                                                                        ide
        execution
    the execu
    the                 the Asset
                     of the
               tion of                   ase Agre
                                   Purchase
                            Asset Purch                            Covenant
                                                             with Cove
                                                    emen t with
                                             Agreement                              be in
                                                                               will be
                                                                        nant will              best intere
                                                                                           the best
                                                                                       in the       interests  of Hills
                                                                                                           sts of  Hillside

    Village,
    Villag e, and     the best
                   is the
              and is                      method
                                      ble meth
                                available
                          best availa           od by           the Corp
                                                        which the
                                                     by which             oratio n's chari
                                                                     Corporation's          table missi
                                                                                      charitable   mission  can be
                                                                                                        on can    be

                                                  care need
                                                h care needs     its const
                                                              of its
                                                            s of           ituen ts met;
                                                                     constituents   met;
    furthered
    furthe red and     seniorr living
                   the senio
               and the                and healt
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    Agreement
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          dance with
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   VOTED:                                  the Board of Trust
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                     each of the                                  ees and
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   Corporation, acting individually
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                        Agreement,    regulatory    filings, and  such   other  docu mentation, and take
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            as are necessary
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Dated:: Augu
Dated       st 24,
        August     2021
               24, 2021



                                                           Name: Rand
                                                           Name:   Rand S.
                                                                  Secretary
                                                           Title: Secretary
                                                           Title:
                                                                               illtl
                                                                            Burn
                                                                         S. B    ett
                                                                              irnett




765SAR77                                                       2
Fill in this information to identify the case:

Debtor name: The Prospect-Woodward Home
United States Bankruptcy Court for the: District of New Hampshire
Case number (if known): 21-_____

                                                                                                                                ¨ Check if this is an
                                                                                                                                        amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders                                                                                                             12/15

A list of creditors holding the 20 Largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
Largest unsecured claims.

    Name of creditor and            Name, telephone number, and       Nature of the     Indicate if   Amount of unsecured claim
    complete mailing address,       email address of creditor contact claim             claim is      If the claim is fully unsecured, fill in only unsecured
    including zip code                                                (for example,     contingent,   claim amount. If claim is partially secured, fill in
                                                                      trade debts,      unliqui-      total claim amount and deduction for value of
                                                                      bank loans,       dated, or     collateral or setoff to calculate unsecured claim.
                                                                      professional      disputed
                                                                      services, and                   Total claim,     Deduction for      Unsecured
                                                                      government                      if partially     value of           claim
                                                                      contracts)                      secured          collateral or
                                                                                                                       setoff

1   TSOMIDES ASSOCIATES             Constantine L. Tsomides           Trade Payable       ¨C                                              $586,378.23
    LLC                             CTSOMIDES@TSOMIDES.COM
    ECHO BRIDGE OFFICE PK           Tel: 617-969-4774                                     ¨U
    389 ELLIOT ST
    NEWTON UPPER FALLS MA
                                                                                          ¨D
    02464

2   Resident - F1051                                                  Resident Refund     þC                                              $577,800.00
    Address Intentionally Omitted
                                                                                          ¨U
                                                                                          ¨D
3   Resident - F1059                                                  Resident Refund     þC                                              $549,900.00
    Address Intentionally Omitted
                                                                                          ¨U
                                                                                          ¨D
4   Resident - F1080                                                  Resident Refund     þC                                              $544,500.00
    Address Intentionally Omitted
                                                                                          ¨U
                                                                                          ¨D
5   Resident - F1022                                                  Resident Refund     þC                                              $539,100.00
    Address Intentionally Omitted
                                                                                          ¨U
                                                                                          ¨D
6   Resident - F1005                                                  Resident Refund     þC                                              $539,100.00
    Address Intentionally Omitted
                                                                                          ¨U
                                                                                          ¨D




Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             Page 1
Debtor    The Prospect-Woodward Home                                                                             Case number (if known) 21-_____

    Name of creditor and            Name, telephone number, and       Nature of the     Indicate if   Amount of unsecured claim
    complete mailing address,       email address of creditor contact claim             claim is      If the claim is fully unsecured, fill in only unsecured
    including zip code                                                (for example,     contingent,   claim amount. If claim is partially secured, fill in
                                                                      trade debts,      unliqui-      total claim amount and deduction for value of
                                                                      bank loans,       dated, or     collateral or setoff to calculate unsecured claim.
                                                                      professional      disputed
                                                                      services, and                   Total claim,     Deduction for      Unsecured
                                                                      government                      if partially     value of           claim
                                                                      contracts)                      secured          collateral or
                                                                                                                       setoff

7   Resident - F1057                                                  Resident Refund     þC                                              $455,400.00
    Address Intentionally Omitted
                                                                                          ¨U
                                                                                          ¨D
8   Resident - F1083                                                  Resident Refund     þC                                              $448,200.00
    Address Intentionally Omitted
                                                                                          ¨U
                                                                                          ¨D
9   Resident - F1021                                                  Resident Refund     þC                                              $436,500.00
    Address Intentionally Omitted
                                                                                          ¨U
                                                                                          ¨D
10 Resident - F1049                                                   Resident Refund     þC                                              $429,300.00
   Address Intentionally Omitted
                                                                                          ¨U
                                                                                          ¨D
11 Resident - F1061                                                   Resident Refund     þC                                              $423,000.00
   Address Intentionally Omitted
                                                                                          ¨U
                                                                                          ¨D
12 Resident - F1002                                                   Resident Refund     þC                                              $423,000.00
   Address Intentionally Omitted
                                                                                          ¨U
                                                                                          ¨D
13 Resident - F1001                                                   Resident Refund     þC                                              $418,500.00
   Address Intentionally Omitted
                                                                                          ¨U
                                                                                          ¨D
14 Resident - F1090                                                   Resident Refund     þC                                              $409,500.00
   Address Intentionally Omitted
                                                                                          ¨U
                                                                                          ¨D
15 Resident - F1066                                                   Resident Refund     þC                                              $409,500.00
   Address Intentionally Omitted
                                                                                          ¨U
                                                                                          ¨D
16 Resident - F1018                                                   Resident Refund     þC                                              $409,500.00
   Address Intentionally Omitted
                                                                                          ¨U
                                                                                          ¨D
17 Resident - F1050                                                   Resident Refund     þC                                              $403,200.00
   Address Intentionally Omitted
                                                                                          ¨U
                                                                                          ¨D




Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             Page 2
Debtor    The Prospect-Woodward Home                                                                            Case number (if known) 21-_____

    Name of creditor and           Name, telephone number, and       Nature of the     Indicate if   Amount of unsecured claim
    complete mailing address,      email address of creditor contact claim             claim is      If the claim is fully unsecured, fill in only unsecured
    including zip code                                               (for example,     contingent,   claim amount. If claim is partially secured, fill in
                                                                     trade debts,      unliqui-      total claim amount and deduction for value of
                                                                     bank loans,       dated, or     collateral or setoff to calculate unsecured claim.
                                                                     professional      disputed
                                                                     services, and                   Total claim,     Deduction for      Unsecured
                                                                     government                      if partially     value of           claim
                                                                     contracts)                      secured          collateral or
                                                                                                                      setoff

18 Resident - F1045                                                  Resident Refund     þC                                              $403,200.00
   Address Intentionally Omitted
                                                                                         ¨U
                                                                                         ¨D
19 Resident - F1027                                                  Resident Refund     þC                                              $403,200.00
   Address Intentionally Omitted
                                                                                         ¨U
                                                                                         ¨D
20 Resident - F1013                                                  Resident Refund     þC                                              $403,200.00
   Address Intentionally Omitted
                                                                                         ¨U
                                                                                         ¨D




Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             Page 3
                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEW HAMPSHIRE

 In re:                                                    )    Chapter 11
                                                           )
 The Prospect-Woodward Home,                               )    Case No. 21-               (      )
                                                           )
           Debtor.'                                        )
                                                           )

                              CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1007(a) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

above-captioned debtor ("Hillside Village" or the "Debtor") certifies that the Debtor is a New

Hampshire not-for-profit corporation and has no equity security holders.

          The undersigned, the Chief Restructuring Officer of the Debtor, hereby declares under

penalty of perjury that the information contained herein is true and correct to the best of his

knowledge, information, and belief.

 Dated: August 30, 2021
                                                               To      ea
                                                               Chief Restructuring Officer
                                                               The Prospect-Woodward Home




I The last four digits of the Debtor's federal taxpayer identification are 2146. The address of the Debtor's headquarters
is 95 Wyman Road, Keene, New Hampshire 03431
                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEW HAMPSHIRE

 In re:                                                    )    Chapter 11

 The Prospect-Woodward Home,                               )    Case No. 21-               (      )
                                                           )
           Debtor.'


                               LIST OF EQUITY SECURITY HOLDERS

          Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the above-

captioned debtor ("Hillside Village" or the "Debtor") certifies that the Debtor has no equity

security holders.

          The undersigned, the Chief Restructuring Officer of the Debtor, hereby declares under

penalty of perjury that the information contained herein is true and correct to the best of his

knowledge, information, and belief.

 Dated: August 30, 2021
                                                               Tob     ea
                                                               Chief Restructuring Officer
                                                               The Prospect-Woodward Home




I The last four digits of the Debtor's federal taxpayer identification are 2146. The address of the Debtor's headquarters
is 95 Wyman Road, Keene, New Hampshire 03431
